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                                                   U.S. Department of Justice

                                                   Tax Division

                                                   Please reply to: Appellate Section
Facsimile No. (202) 514-8456                                       P.O. Box 502
Telephone No. (202) 514-3361                                       Washington, D.C. 20044
DAH:FMU
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Via ECF

Mark Langer, Clerk of Court
E. Barrett Prettyman U.S. Courthouse
And William B. Bryant Annex
333 Constitution Ave., NW
Washington, DC 20001

       Re:     Alon Farhy v. Commissioner of Internal Revenue
               (Case No. 23-1179)

Dear Mr. Langer:

      During oral argument on February 14, 2024, the Court asked the
Commissioner’s counsel about Our Country Home Enterprises, Inc. v.
Commissioner, 855 F.3d 773 (7th Cir. 2017), and that opinion’s impact on the
IRS’s administration of the Section 6038(b) penalty. Having read the opinion
and conferred with IRS Chief Counsel, we submit the following additional
information.
       In Our Country Home, the court held that a taxpayer was precluded
from challenging its liability for a reporting penalty in a collection due
process (CDP) hearing because the taxpayer had previously contested its
liability for the penalty in an administrative conference with IRS Appeals.
This holding flowed from I.R.C. § 6330(c)(2)(B), which states that a “person
may … raise at the [CDP] hearing challenges to the existence or amount of
the underlying tax liability for any tax period if the person did not receive
any statutory notice of deficiency for such tax liability or did not otherwise
have an opportunity to dispute such tax liability.” The Seventh Circuit held
that the IRS Appeals conference counted as “an opportunity to dispute” the
penalty liability within the meaning of § 6330(c)(2)(B) and an applicable
Treasury regulation.
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       Regarding the Section 6038(b) penalty, if the taxpayer is offered an
administrative conference with IRS Appeals, then under the holding of Our
Country Home, the taxpayer would be precluded from contesting his penalty
liability in a later CDP hearing. The taxpayer would not be barred from
having a CDP hearing entirely, but the issues he could raise would be limited
by § 6330(c)(2) and (4). The taxpayer could, however, contest his liability for
the penalty in a post-payment refund suit. If the taxpayer did not receive an
offer to meet with IRS Appeals, then he would be free to challenge his
liability for the penalty in a CDP hearing.
      In this case, the record does not disclose whether Alon Farhy was
offered an administrative conference with IRS Appeals prior to his CDP
hearing. However, the notice of determination issued after the CDP hearing
states that “[y]ou did not dispute the assessed liability. At the same time,
you cannot dispute the assessed liability as they are based on an agreed
examination assessment.” (JA16.) Thus, the issue presented in Our Country
Home apparently was not implicated in this case. We also note that if the
Section 6038(b) penalty cannot be assessed by the IRS, then taxpayers would
have no right to an administrative hearing with IRS Appeals or to a CDP
hearing.
       Our Country Home also notes that the taxpayer at issue was involved
in “two contemporaneous proceedings,” one involving the reporting penalty,
and the other concerning penalties subject to deficiency procedures. See 855
F.3d at 780. This Court asked whether a similar coordination issue could
occur if the IRS assesses a Section 6038(c) penalty but must refer a Section
6038(b) penalty to the Department of Justice for collection. The answer is
yes, a taxpayer could end up in contemporaneous Tax Court and district court
proceedings stemming from those adjustments.

                              Respectfully submitted,

                              /s/ Francesca Ugolini

                              FRANCESCA UGOLINI
                              Chief
                              Appellate Section, Tax Division
